                                                                                                     FILED IN THE
                                                                                           U.S. DISTRICT COURT
           Case 2:14-cr-00168-TOR           ECF No. 371   filed 12/12/14   PageID.1715   Page
                                                                                     EASTERN       1 of
                                                                                             DISTRICT OF 4
                                                                                                         WASHINGTON




                                       UNITED STATES DISTRICT COURT                      Dec 12, 2014
                                          EASTERN DISTRICT OF WASHINGTON                       SEAN F. MCAVOY, CLERK
                                                                                                BRANCH OFFICES
  SCOTT M. MORSE, SR.                            PROBATION OFFICE
                                                                                                FEDERAL BUILDING
   CHIEF PROBATION OFFICER
                                                                                               25 S. 3rd Street, Room 326
          Thomas S. Foley                        December 12, 2014                                   PO BOX 1791
       United States Courthouse
                                                                                              YAKIMA, WA 98907-1791
     920 W Riverside, Room 540
                                                                                          (509) 574-5535 / fax (509) 574-5539
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    SPOKANE, WA 99210-0306
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 (509) 742-6300 / fax (509) 742-6339
                                                                                               825 Jadwin Ave, Suite 170
                                                                                            RICHLAND, WA 99352-0446
                                                                                          (509) 943-8130 / fax (509) 943-8139
REPLY TO Spokane




         The Honorable John Rodgers
         U.S. Magistrate Judge
         Thomas S. Foley United States Courthouse
         920 West Riverside Avenue
         Spokane, Washington 99201-1010

                                                             RE: LIZOTTE, Ashley
                                                             DOCKET No: 2:14CR00168-TOR-12
                                                             CURRENT LOCATION:


                                                             REQUEST FOR MODIFICATION


         Dear Judge Rodgers:

         On December 3, 2014, Ms. Lizotte appeared before Your Honor for an initial appearance.
         Ms. Lizotte was ordered to be released, and placed under pretrial release supervision. She
         reported to the U.S. Probation/Pretrial Services Office, where the undersigned officer
         discussed modifying Ms. Lizotte’s release conditions to include substance abuse testing and
         treatment, and mental health counseling.

         Ms. Lizotte discussed these modifications with her attorney, as she was in agreement to add
         these conditions, and signed a consent to modify conditions of release. Defense counsel was
         contacted and agreed to the modification. Ms. Lizotte indicated to this officer that she would
         like to begin services as soon as possible.

         The consent to modify conditions of release form, signed by the defendant, her counsel and
         the undersigned officer, is attached for your review and signature.
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Should the Court have any further questions, please contact the undersigned officer.

                                         Respectfully submitted,

                                         Scott M. Morse, Sr.
                                         Chief U.S. Probation Officer



                                         By: s/Anne Sauther                 12/12/2014
                                         Anne Sauther                           Date
                                         U.S. Probation Officer

APPROVED BY:



s/Matthew L. Thompson 12/12/2014
Matthew Thompson         Date
Supervising U.S. Probation Officer

AS/sf
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X                                                                      12/12/14



                                                 December 12, 2014
